CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?890114819632013-...
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                                                     1:20-cv-01517-SCJ
                                                   Carter et al v. Kemp et al
                                                   Honorable Steve C. Jones

                                    Minute Sheet for proceedings held In Chambers on 04/15/2020.


              TIME COURT COMMENCED: 10:30 A.M.
              TIME COURT CONCLUDED: 12:00 P.M.                     COURT REPORTER: David Ritchie
              TIME IN COURT: 1:30                                  DEPUTY CLERK: Pamela Wright
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                 Kaye Burwell representing Pinkie Toomer
         PRESENT:                    Cristina Correia representing Brian Kemp M
                                     John Monroe representing GeorgiaCarry.Org, Inc.



                                     John Monroe representing Sara Carter
                                     Tina Piper representing Brian Kemp
                                     Cheryl Ringer representing Pinkie Toomer
         PROCEEDING
                                     Evidentiary Hearing(PI or TRO Hearing-Evidentiary);
         CATEGORY:
         MOTIONS RULED               [3]Motion for TRO TAKEN UNDER ADVISEMENT
         ON:
         MINUTE TEXT:                Telephonic hearing held on Plaintiffs' Motion for Temporary Restraining
                                     Order [3]. Oral argument heard. Plaintiffs' exhibits 1-9 admitted.
                                     Defendant Pinkie Toomer's exhibits 1-3 admitted. Matter taken under
                                     advisement by the Court with written order to follow. [This proceeding
                                     was initiated with members of press and public permitted to listen
                                     remotely. Due to disruptions and technical difficulties the hearing was
                                     briefly recessed and reconvened with parties and counsel only.]
         HEARING STATUS:             Hearing Concluded
         EXHIBIT STATUS:             Exhibits to be filed on record at direction of the Court.




1 of 1                                                                                                              4/16/2020, 1:39 PM
